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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


JUDICIAL WATCH, INC.,                            )
                                                 )   Case No. 18-cv-00932
       Plaintiff,                                )
                                                 )   Judge Reggie B. Walton
       v.                                        )
                                                 )
UNITED STATES DEPARTMENT OF                      )
JUSTICE,                                         )
                                                 )
       Defendant.                                )

                                  JOINT STATUS REPORT

       Pursuant to the Court’s April 17, 2019 Minute Order, Plaintiff Judicial Watch, Inc. and

Defendant United States Department of Justice, through their undersigned counsel, submit this

joint status report. The parties have conferred and agree to the following proposed dates for

briefing dispositive motions:

July 9, 2019          Defendant shall file a motion for summary judgment

August 9, 2019        Plaintiff shall file a cross-motion for summary judgment and opposition to
                      Defendant’s motion

September 9, 2019     Defendant shall file a reply in further support of its motion and opposition
                      to Plaintiff’s cross-motion

September 23, 2019 Plaintiff shall file a reply in further support of its cross-motion



Dated: April 30, 2019                          Respectfully submitted,

/s/ Michael Bekesha                            HASHIM MOOPPAN
Michael Bekesha                                Deputy Assistant Attorney General
D.C. Bar No. 995749
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                                               Gary D. Feldon
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